8:06-cr-00411-LSC-TDT        Doc # 139      Filed: 04/09/13    Page 1 of 1 - Page ID # 334




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:06CR411
                                              )
       vs.                                    )                   ORDER
                                              )
MARK ANTHONY HUDSON,                          )
                                              )
                     Defendant.               )


       The defendant, Mark Anthony Hudson (Hudson) has been accepted for placement
at the Residential Re-entry Center in Council Bluffs, Iowa, as of April 11, 2013. Accordingly,
the U.S. Marshal shall release Hudson from detention and have him available for transport
at the U.S. Marshal’s holding cell by 8:00 a.m. on Monday, April 11, 2013.


       IT IS SO ORDERED.


       DATED this 9th day of April, 2013.


                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
